Case 2:90-cv-00520-KJM-SCR Document 2081 Al

IN THE UNITED STATES DISTRIC
FOR THE EASTERN DISTRICT OF C

RALPH COLEMAN, et al.
Plaintiffs,
vs. No. C

ARNOLD SCHWARZENEGGER, et al.,

Defendants.

SIXTEENTH MONITORING REPORT OF THE

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ALIFORNIA

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| SPECIAL MASTER

ON THE DEFENDANTS’ COMPLIANCE WITH

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PLANS, POLICIES AND PROTO

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THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA

RALPH COLEMAN, et al.,

Plaintiffs,

vs. No. CIV 8-90-0520 LKK JFM P

ARNOLD SCHWARZENEGGER, et al.,

Defendants

SIXTEENTH MONITORING REPORT OF THE SPECIAL MASTER

ON THE DEFENDANTS’ COMPLIANCE WITH

PROVISIONALLY APPROVED
PLANS, POLICIES AND PROTOCOLS

This report covers the sixteenth round of monitoring primarily of
institutional compliance with individual corrective action plans (CAPs) compiled by
California Department of Corrections and Rehabilitation (CDCR) facilities in 2000 to
ensure implementation of the plans, policies and protocols provisionally approved by the
court in mid-1997. The round included visits to 26 CDCR institutions by teams of
monitors and experts, with multiple visits occurring in California Institution for Men
(CIM), California Institution for Women (CIW), California State Prison, Corcoran
(CSP/Corcoran), California State Prison, Los Angeles County (CSP/LAC), California
State Prison, San Quentin (SQ), California State Prison, Solano (CSP/Solano), Richard J.
Donovan Correctional Facility (RJD), and Salinas Valley State Prison (SVSP). One of
the 26 institutions visited by a monitoring team was the recently opened Kern Valley
State Prison (K VSP), where severe hiring problems delayed the activation of the Mental

Health Crisis Bed (MHCB) unit and the initial provision of mental health services
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generally. Seven other institutions were monitored by means of a paper review, which
required each facility to file documentation on their compliance with the local CAP and
other issues of special focus in the monitoring round.

Once again, monitoring also focused, apart from just CAPs, on quality
management, medication management, mental health input into the hearing and
disposition of rule violation reports (RVRs) generated in response to disciplinary
infractions committed by seriously mentally disordered inmates and the timeliness of
transfers to more intensive levels of mental health treatment. More limited monitoring of
new so-called stand-alone administrative segregation units also continued, with monitors
making specific visits to assess compliance with the court’s October 10, 2002 order on
the delivery of mental health care in these units. That order prohibited the defendants
from housing seriously mentally disordered inmates in the new administrative
segregation units and led to an agreement to remove any Mental Health Services Delivery
System (MHSDS) inmates mistakenly placed in the units within 24 hours of
identification of the mistake, conduct daily psych tech rounds of the entire population of
the units, refer inmates with mental health problems in the unit promptly to mental health
clinicians and remove general population inmates identified as needing to be included in
the MHSDS caseload during their tenure in any of the units within 24 hours of the
referral. Monitors inspected and assessed the mental health services delivered in existing
units in California State Prison, Corcoran (CSP/Corcoran), California State Prison,
Sacramento (CSP/Sac), California Substance Abuse Treatment Facility (CSATF),

Calipatria State Prison (CAL), Centinela State Prison (CEN), Pelican Bay State Prison
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(PBSP), Pleasant Valley State Prison (PVSP) and Salinas Valley State Prison (SVSP), as
well as in more recently opened units in CSP/LAC and High Desert State Prison (HDSP).

In addition to these continuing monitoring targets, two other issues arose
during the monitoring round that required assessment. These included the delivery of
cardio-pulmonary resuscitation (CPR) in emergency situations, especially those involving
suicides, and the use of video-monitoring to observe suicidal inmates in Mental Health
Crisis Bed (MHCB) units and Outpatient Housing Units (OHUs). In the early portion of
the monitoring period, review focused on identifying problems, but by the end of the
period, both issues were resolved through negotiated agreements, and subsequent
monitoring focused on the implementation of various terms of the agreements. The shift
in focus during the period of review meant that monitoring teams were looking at
different aspects of these issues depending on the timing of their institutional visits.

During the 16th round of review, the monitor’s psychiatric experts and
monitors spent 308 person-days in the 26 visited institutions. The monitor’s psychiatric
experts compiled numerous case reviews based on interviews with inmates and clinicians,
chart reviews, or a combination of these elements, which are included as exhibits in this
report. A total of 234 case reviews from 19 institutions are attached to this report. The
case reviews are redacted to protect the privacy of inmates.

Institutional administrators and mental health staff at the visited
institutions continued to cooperate fully with the monitoring process. As in earlier
rounds, plaintiffs’ and defendants’ counsel accompanied monitoring staff during several

of the site visits.
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The data collected and findings discussed in this report are the product of
many members of different monitoring teams, but subsequent references to various
monitors throughout the report shall be singular rather than plural. Clinical judgments of
the monitor’s psychiatric experts are explicitly attributed to an expert.

This report contains an institutional summary of compliance for each
CDCR institution, which includes a brief report on staffing and staffing vacancies; a list
of resolved CAP problems when appropriate; discussion of the institution’s progress, or
lack of progress, in meeting requirements related to quality management, medication
management, mental health input into the disciplinary process and transfers to more
intensive levels of mental health care, as well as problems identified in the institution’s
CAP and targeted for elimination. A concluding summary of overall compliance is
generally followed by an assessment of each institution’s likely candidacy for reduced
future monitoring or a list of major local obstacles to future reduced review. The
institutional summaries are followed by a more general and department-wide analysis of
compliance and any recommendations that spring from the analysis.

The arrangement of the institutional summaries in this report corresponds
with the defendants’ regional service areas, which typically include a hub institution with
a MHCB unit for short-term inpatient crisis care and an intensive residential Enhanced
Outpatient Program (EOP). The service areas also include anywhere from one to four
other facilities, each of which generally has a Correctional Clinical Case Management

System (3CMS) program in the general population.
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Institutional Summaries
Service Area A

This service area includes California State Prison, Sacramento (CSP/Sac)

and Folsom State Prison (Folsom).

California State Prison, Sacramento (CSP/Sac)
December 19, 2005 — December 20, 2005

CSP/Sac had vacant positions for a psychiatrist, a senior psychologist, five
psychologists, four psych techs, a senior RN, five RNs and 4.5 office techs. These
vacancies included recently allocated positions for a psychiatrist, a psych tech and 1.5
office techs to accommodate increases in the caseload population and additional allocated
positions for two psychologists, a psych tech and a half-time office tech to cover the EOP
administrative segregation hub unit, which chronically exceeded its capacity.

A number of construction projects were underway at CSP/Sac during the
monitoring period. Mental health staffing allocations for these programs totaled nearly
75 new positions. The institution was struggling to hire additional staff, but none had
been filled to date. CSP/Sac was building an 11-bed MHCB, referred to as the Crisis Bed
Unit or the CBU, to supplement its current 15-bed MHCB unit. Construction was also
underway on an additional 64-bed PSU. Both projects were scheduled for completion in
mid-January 2006, but given the staffing difficulties, it seemed unlikely that the
institution would be able to hire sufficient staff to activate the units by that time. The
projects seemed likely to be postponed months due to hiring delays. In addition to its
existing 18-bed OHU, CAP/Sac also planned to open a 22-bed mental health outpatient
housing unit (MHOHU) on B-1 as soon as recently allocated positions for this unit were

filled. In the interim, the institution had begun to use the B-1 unit temporarily to operate
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what it called a Consolidated Housing Unit for monitoring inmates pending admission to
MHCB and OHU beds.

Quality Management:

Many quality assurance issues remained resolved. The suicide prevention
committee had a broad membership and was functioning well. The committee met
monthly with at least half of its membership in attendance. Minutes were maintained,
reflecting substantive discussions in a number of areas. Institutional audits were
conducted using a variety of audit tools, and corrective action plans were developed to
deal with identified problems.

Peer review, however, was erratic. Peer review for psychiatrists,
underway during the preceding monitoring period, lay dormant for most of the year.
Ten-chart reviews were conducted quarterly for all psychiatrists, but only for the MHCB
unit. The peer review process began again in October 2005, but some psychiatrists were
not included. Peer review for psychologists and psych social workers developed during
the monitoring period. An excellent QIT had been conducted, and some peer review for
case managers had already been undertaken.

Medication Management:

The institution’s operating procedures for medication management were
not entirely consistent with departmental policies and needed to be revised. Most of the
audits conducted during the monitoring round on medication management, with the
exception of audits addressing parole medication and laboratory testing, were
problematic. Many of the audits were based on small samples of just ten charts.

Moreover, even these small samples were not targeted for the specific issues being
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audited. For example, an audit of medication non-compliance could include inmates who
were not receiving psychotropic medications. Finally, the manner of reporting audit
results was flawed. CSP/Sac reported only the percentage of compliance without any
analysis of results, description of the methodology used or corrective actions undertaken.

Continuity of medication for inmates arriving at the institution changed
little during the monitoring period. CSP/Sac had procedures in place for handling
inmates arriving with medication orders from other facilities. Arriving inmates who
claimed without proof to be on medication were reportedly placed on a medication line
for the next day or seen by the physician on call if needed. No audit had been conducted,
however, to determine the degree of compliance with these procedures.

A problem developed with continuity of medication for intra-institutional
housing changes during the monitoring period. Correctional officers did not transmit the
newly developed inmate movement forms to the clinic as required. MARs and
medications for inmates changing housing locations were transferred by health care
providers and not by correctional staff as specified in the institution’s operating
procedure. The institution still had not audited whether inmates in need of medication
renewals were seen by physicians before their renewal date or before the expiration of
relevant continuity orders.

Follow-up to medication non-compliance was inconsistent. No audits of
this issue had been conducted, but staff reported problems both with referring non-
compliant inmates to mental heath and with scheduling timely follow-up appointments.
MARs were generally legible, but some MARs were not initialed as required. There was

also a two to three-week backlog in the filing of MARs.
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The timeliness of psychiatric responses to staff and inmate referrals
remained unclear. CSP/Sac did not track response times to requests for psychiatric
services.

Recent audits showed significant problems with the provision of parole
medications for inmates discharged from the institution. CSP/Sac maintained a log of
paroling inmates who were offered and either received or rejected medications on
discharge, but no audit had been conducted to determine if documentation of such
medications was filed in inmates’ UHRs.

Laboratory testing of inmates on psychotropic medications was conducted.
Institutional audits indicated that appropriate tests were completed in a timely manner
and results were returned promptly and filed in inmates’ charts. Clinicians reportedly
reviewed test results and adjusted inmate medications in response to the results.

Implementation of DOT procedures was somewhat problematic. All EOP
inmates routinely received DOT; the criteria for other inmates to receive DOT
medications included a history of hoarding or suicide attempts. A list of inmates
receiving DOT was generated on a regular basis, but the list had not been forwarded to
the nursing staff for at least the last several months. Local operating procedures were not
followed. Although custody had agreed to open cell doors for DOT, correctional officers
failed to implement the agreement. Administration of DOT was regularly observed by
supervisors, as were procedures for nurse administered medications. Suspected cheeking
was supposed to be documented on inmates’ MARs, but no audit of documentation to

confirm the practice had been conducted.
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The Keyhea process encountered some difficulty during the monitoring
period. More than 100 inmates were on Keyhea orders at CSP/Sac at the time of the
monitor’s visit. Keyhea orders were routinely sought for inmates in need of involuntary
medications, and renewals were generally sought in a timely manner. Orders for three
inmates, however, were not renewed during the monitoring period because psychiatrists
failed to complete required paperwork in a timely manner despite adequate notification of
the need to do so.

Medication errors were compiled, and medication error reports were
completed.

The institution still had not made adequate provisions for the
administration of HS medications. HS medications were delivered between 7:30 and
8:00 pm, rather than after 8:00 pm as required.

Informed medication consent forms were not obtained for all inmates on
psychotropic medications. Heat cards, however, were still provided to inmates on heat-
sensitive medications, and inmates were told of the risks associated with their heat-
sensitive medications.

Mental Health Assessments for the Disciplinary Process:

Mental health assessments for caseload inmates charged with disciplinary
infractions continued to progress. RVRs, however, sometimes failed to document mental
health input or to explain whether hearing officers considered mental health input in
reaching their dispositions.

Aggregate data and individual case reviews suggested that at least some

3CMS inmates were not appropriately referred for mental health assessments in
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connection with their disciplinary infractions. During the period from J anuary 1 to
October 31, 2005, 543 RVRs were issued to 3CMS inmates. Among the recipients of all
these RVRs, only one inmate was referred to mental health for a mental health
assessment.

Transfers:

Access to MHCB care was inadequate. CSP/Sac’s 15-bed MHCB unit
was too small for the institution’s growing MHSDS population. As indicated above,
CSP/Sac was in the middle of several construction projects designed to increase the
number of crisis and OHU beds, but activation of these units was dependent on the
institution’s ability to hire staff which was likely to be difficult. Access problems were
compounded by the high number of inmates who remained in the MHCB unit for
extended periods of time. From June 1 to November 17, 2005, 183 inmates were
discharged from the MHCB unit, 66 of whom had lengths of stay in excess of ten days.
More than half of the inmates with extended stays had been referred to DMH and were
awaiting acceptance or transfer; the average length of stay for inmates transferred to
DMH was 24 days, with a range of 14 to 39 days. After discounting those inmates
discharged to DMH, approximately 16 percent of MHCB admissions remained longer
than ten days. Twenty-five percent of the 174 mental health admissions to the OHU from
May 31 to November 30, 2005 lasted four days or longer.

Due to the insufficient number of crisis beds, the institution continued to
use ZZ cells for most of the monitoring period to house inmates in need of MHCB care.
As indicated in the preceding monitoring report, ZZ cells were holding cells with toilets

and, sometimes, mattresses, located throughout the institution. As a result, seriously ill

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inmates were often placed in unacceptable physical conditions outside the MHCB unit.
Many inmates were held in ZZ cells for more than 72 hours. Of the 73 mental health-
related ZZ cell admissions from October 10 to November 11, 2005, 23 lasted beyond 72
hours. The institution discontinued using ZZ cells for mental health inmates on
December 5, 2005, when it activated the temporary CHU, mentioned above. The
institution provided no data on admissions to the CHU or information on the unit’s
staffing.

CSP/Sac continued to have adequate access to APP/DMH at CMF.
According to the referral log, CAP/Sac referred 106 inmates to APP/DMH from
September 9 through November 10, 2005. Of these referrals, 98 were transferred to
APP/DMH, six were rescinded, one was rejected and one was transferred elsewhere. The
average length of time between referral and transfer to APP/DMH was only 11 days,
although about 20 percent of the transfers were delayed by two weeks or more. The
institution’s DMH referral log was incomplete. The monitor reviewed 74 of the UNA
referrals for the period from September through November 2005 in the log and found no
follow-up record of the outcome for 32 of the inmates recommended for referrals in the
UNA.

Access to SVPP/DMH remained difficult and slow. While only one
inmate was rejected by SVPP/DMH during the monitoring period, many referred inmates
had no other access to intermediary inpatient care and had to wait months for a transfer to
SVPP/DMH. According to the institution’s referral log for the period from September 4,
2004 to November 11, 2005, 102 inmates were referred to SVPP/DMH, of whom 34

were eventually transferred to SVPP/DMH. The time between referral and transfer for

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these inmates averaged 84 days, with a range of 19 to 327 days. Slightly more than half
of the transfers were delayed longer than 60 days. As of December 1, 2005, 22 accepted
inmates were pending transfer. Half of these inmates had been waiting longer than 120
days. Another 15 referrals were pending acceptance; nine of these 15 inmates had been
waiting longer than 100 days for a decision. As a result of the long delays, a significant
number of the SVPP/DMH referrals were redirected to other DMH programs. Of the 102
inmates referred to SVPP/DMH, ten were sent to the DMH/ICF at CMF, while another
13 were sent to APP/DMH. Access to these beds was often delayed, particularly for
inmates in need of neuropsychological testing. Despite delays in access to SVPP/DMH,
no inmates were referred or sent to ASH.

Other CAP Issues:

a. Partial Compliance

The provision of mental health screenings for non-caseload inmates
airiving in administrative segregation improved. Chart reviews confirmed that non-
caseload inmates were routinely provided a mental health screening within 72 hours of
their placement in administrative segregation. Inmates who refused to be screened were
referred to mental health and evaluated by a clinician in a timely manner.

Problems resurfaced with the provision of group therapy to 3CMS
inmates. The number of 3CMS inmates receiving group therapy declined to 30, with 142
inmates on the waiting list. If all planned groups had been operating, the program would
have serviced approximately 80 inmates or eight to ten percent of the 3CMS population.
The institution had a high therapy refusal rate of 37 percent, resulting in some small

groups of three inmates or less.

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Construction of the EOP treatment center continued. The monitor toured
the area and found the planned programming and office space to be impressive. The
project, however, was not due to be completed until the spring of 2006 and, in the
interim, program space for general population EOP inmates remained limited. Group
therapy still took place in dayrooms, while individual counseling and treatment continued
to occur in the dining area.

A significant percentage of 3CMS inmates in administrative segregation
did not receive out-of-cell case management contacts. From August 15 through
November 11, 2005, the portion of 3CMS administrative segregation inmates receiving
out-of-cell contacts varied from 43 to 59 percent, depending on the administrative
segregation unit audited. The portion of EOP administrative segregation inmates
receiving confidential case management contacts varied monthly from 56 to 62 percent
from August through October 2005. EOP inmates in administrative segregation still did
not receive ten hours of structured therapeutic activities.

The percentage of suicidal inmates receiving five-day clinical follow-up
after being discharged from the MHCB unit or the OHU went from 82 percent in the
preceding monitoring period to 89 percent from October 2004 to November 2005.
Custody checks for the same period were performed appropriately for 82 percent of
eligible inmates. In contrast, five-day clinical follow-up was provided to just two-thirds
of suicidal inmates discharged from the OHU, CHU or ZZ cells from October 10 through
November 11, 2005.

The restraint policy at CSP/Sac was inconsistent with current departmental

standards. Specifically, the institutional policy inappropriately allowed an initial restraint

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order to be written without requiring a face-to-face evaluation by the ordering clinician
within the first four hours. A face-to-face evaluation was only required within the first 24
hours.

According to institutional data, 95 percent of custody staff had completed
training on the amended CPR policy. Those who did not complete the training were
unavailable to do so because they had been temporarily assigned to another prison or
were on military or other long-term leave.

The use of video monitoring for inmates on suicide watch in CSP/Sac was
inadequate. The MHCB unit at CSP/Sac had seven cells equipped for video monitoring.
The monitoring equipment had zoom and night vision capabilities and could show one,
two, four or seven cells at a time; the screen resolution was generally good when
capturing a single cell and extremely poor when displaying multiple cells. The institution
kept no record of inmates on suicide watch via video monitoring during the six months
preceding the monitor’s visit. Staff estimated that video cameras were used
approximately once a week. Reportedly, more than two inmates were never on suicide
watch via video monitoring at the same time. Contrary to departmental policy on video
monitoring for inmates on suicide watch, no hourly contacts were required and one
correctional officer was permitted to view up to seven inmates. Only “serious suicide
attempts” warranted saving videotapes. Post orders on the position available in the
MHCB unit were brief and vague.

CSP/Sac developed and implemented a new procedure on sexual
misconduct. A staff member was assigned to complete all mental health assessments and

all screenings for sexual misconduct. Thereafter, a treatment team was supposed to

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decide if a comprehensive evaluation was warranted. According to staff reports,
disciplinary infractions were often completed for incidents that should not have been
construed as indecent exposure. Moreover, charts reviews indicated that incidents were
sometimes reviewed by one clinician as opposed to a treatment team, as required. Since
September 2005, 55 screenings had been completed for 30 inmates. Only one inmate was
determined to meet the criteria for a comprehensive evaluation, but that evaluation had
not yet been completed. As a result, no one at CSP/Sac had been diagnosed with
exhibitionism.

Institutional Summary:

CSP/Sac had been allocated an extremely large increase in mental health
positions to support the anticipated expansion of its PSU, MHCB and OHU. The
institution was struggling to fill these new positions as rapidly as possible to be able to
put these expanded programs into operation.

Among the four issues of focus in this round of monitoring, quality
assurance continued to progress with peer review being resumed after nearly a year-long
interruption. Mental health components of the disciplinary process also improved.
Problems, however, persisted in many aspects of medication management, including
continuity of medication on arrival and changes in housing locations, laboratory testing,
DOT, parole medications, the Keyhea process and HS medications. Audits were needed
to determine the timeliness of psychiatric responses to referrals, continuity of medication
on renewal and follow-up to medication non-compliance. Access to acute DMH

programs was adequate, but transfers to the intermediate SVPP/DMH program were

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difficult and untimely. Similarly, access to MHCBs was problematic and resulted in the
inappropriate use of ZZ cells for much of the monitoring period.

With respect to other CAP issues, five-day clinical follow-up improved,
but CSP/Sac still had problems providing sufficient group therapy for 3CMS inmates,
out-of-cell case management contacts in administrative segregation and structured
therapeutic activities for EOP inmates. There were problems with the use of video
monitoring for inmates on suicide watch, mental health screenings for non-caseload
inmates in administrative segregation and the institution’s restraint policy.

CSP/Sac was on the brink of becoming an institution with a unique and
pervasive mental health mission in CDCR. The expansion about to occur, when
combined with long term plans for the development of additional Level IV CDCR mental
health programs, as well as DMH inpatient programs, will eventually make CSP/Sac the
department’s core facility for the provision of mental health services to the system’s most

seriously mentally ill Level IV inmates.

Folsom State Prison (Folsom)

Paper Review
Psychiatric staffing remained inadequate. Folsom had only one full-time
psychiatrist on staff and a vacancy for a half-time psychiatrist. The institution reported
its anticipation of an additional allocation of a half-time psychiatric position, but no date
was provided to indicate when this might occur. Folsom used a contract psychiatrist to
cover its vacancy, but the amount of coverage provided decreased significantly. Between
October 2004 and January 2005, the contract psychiatrist worked 60 to 100 hours a

month. In all but one month from February through October 2005, the contract

psychiatrist worked less than 40 hours, providing no coverage at all in March and only

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ten hours in February. As a result, clinical caseloads were extremely high. The contract
psychiatrist was assigned to cover administrative segregation, which averaged around 50
inmates during this monitoring period as compared to 24 inmates during the preceding
monitoring period. This left the sole full-time psychiatrist responsible for the rest of the
3CMS and EOP caseload of more than 600 inmates.

Folsom also had a vacant psychologist position, but did not use contract
services to cover the vacancy after February 2005. Case manager caseloads, which had
ranged from 105 to 134 during the preceding monitoring period, rose to 137 to 154
inmates during the monitoring period. Another case manager, a psych social worker, was
expected to leave the institution in November 2006.

Issue Resolved:

The MHTS was appropriately implemented.

Quality Management:

The quality management committee continued to meet monthly, as did the
mental health subcommittee. Minutes of both meetings were maintained. Many QITs
were operating during the monitoring period, but the composition of the teams was
unclear, and line staff reported minimal participation. No QITs were chartered to study
the provision of mental health services in administrative segregation during the
monitoring period.

Psychiatric peer review continued to occur quarterly, while psychologists
and psych social worker met for peer review weekly. Charts reviews were conducted by
the peer review groups, and results were presented to the quality improvement

committee.

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Medication Management:

Medication management issues were minimally addressed in the
institution’s submission for the paper review. Practices previously found to be compliant,
such as the acquisition of informed medication consent forms and the use of MARs,
apparently were not assessed by the institution during the monitoring period. Medication
continuity on arrival remained compliant. In contrast, medication continuity for intra-
facility transfers showed some slippage. Three-fourths of inmates changing housing
locations received their medications without interruptions, compared with 85 percent in
the preceding monitoring period. Twenty percent of the inmates missed one dose of
medication, while five percent missed two or more doses.

Folsom continued to provide inmates with parole medications at the time
of their discharge from the institution. According to the institution’s data on the issue,
134 caseload inmates were paroled from Folsom from January 2004 through October
2005. Only one inmate was discharged without receiving his medications, and, in that
case, documentation indicated that his medications were mailed promptly to his parole
officer.

Laboratory testing of inmates on mood-stabilizing medications appeared
to function well. Although no institutional audits were conducted, the monitor found that
appropriate laboratory testing was ordered for inmates, and Folsom reported that
prescribed tests were conducted timely. The monitor further found that test results were
reviewed by the prescribing clinicians and appropriate adjustments were made in
response. Results reportedly were then entered into the inmates’ charts in a timely

manner. A limited review of eight charts found that 100 percent of laboratory tests were

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ordered, reviewed and filed in UHRs. The reviewers did not report on the timeliness of
actual tests or the timeliness with which results were entered into the charts.

Nothing appeared to have changed with respect to DOT. During the
preceding monitoring period, no system was in place for clinically reviewing decisions
distinguishing between DOT and nurse administered medication deliveries. DOT
procedures, as well as nurse administered medications, however, were then being
documented, observed and supervised at that time. The materials submitted to the
monitor provided no further information on the issue.

The status of the use of HS medications was unclear. During the
preceding monitoring period, the institution rarely provided inmates with HS
medications. The monitor was not provided with information on the number of inmates
receiving HS medication during the most current monitoring round.

The pharmacy documented 38 medication errors. No injuries resulted
from any of the errors but, in some cases, new policies and procedures were developed to
prevent further incidents.

The monitor previously found that Keyhea orders were appropriately
tracked. The institution reported that no inmates on Keyhea orders were currently in the
institution.

Mental Health Assessments for the Disciplinary Process:

During the monitoring period, 514 RVRs were issued to 3CMS inmates
and eight were issued to EOP inmates. These figures constituted 16 percent of all RVRs
issued in the facility. Folsom continued to track all requests for mental health

assessments in a comprehensive log. According to this log, seven of the eight EOP

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inmates charged with infractions received mental health assessments. There was no
indication why an assessment was not completed for the eighth inmate, who was found
guilty of threatening staff and assessed 45 days loss of credit. Only 12 3CMS inmates,
less that one percent of 3CMS inmates receiving RVRs, were given mental health
assessments. The institution appeared to have a system for ensuring that mental health
assessments were completed by someone other than an accused inmate’s case manager.
The materials did not indicate whether clinicians reviewed inmates’ C-files in connection
with assessments, but in the past C-files were not reviewed.

Hearing officers appeared to take mental health input into account. Of the
19 mental health assessments completed during the monitoring period, clinicians
determined that mental illness had influenced inmates’ behavior in eight cases. Reports
by hearing officers reflected consideration of mental health input in all eight cases.
Charges were dismissed in six of the cases. The tracking log indicated that one EOP
inmate was issued a RVR for failing to take his prescribed medication; the inmate was
assessed 30 days loss of credit.

Transfers:

The timeliness of EOP transfers slipped. Of 57 EOP inmates referred to
appropriate programs during the monitoring period, 11 waited longer than 60 days for
transfer. Three of these inmates were not transferred for approximately 90 days, while
four inmates had been waiting longer than 120 days when the facility submitted its paper
review.

Folsom transferred 77 inmates to MHCB units and the OHU at CSP/Sac

from December 2004 to October 2005. The materials provided to the monitor did not

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reflect referral dates, so it was impossible to determine the timeliness of the transfers, an
issue that previously was resolved. Folsom did not use its MHTS to track MHCB
transfers, but instead relied on a handwritten log. The log indicated that 26 inmates
remained longer than ten days in MHCB units elsewhere in CDCR. According to the
institution, no inmate had more than one MHCB admission during the monitoring period.

The institution reported no referrals to DMH from October 2004 through
October 2005.

Other CAP Issues:

a. Non-Compliance

Lockdowns, in combination with the shortage of psychiatric staffing,
effectively shut shown the IDTT process from May through September 2005. Inmates
were no longer escorted to IDTT meetings, and psychiatrists were not generally in
attendance. Treatment plans remained generic.

Inmates did not consistently receive mental health screenings within 72
hours of transfer to administrative segregation. An institutional audit indicated that only
25 percent of administrative segregation inmates received a timely initial screening. No
data was provided on the length of stays of EOP inmates, the frequency of clinical
contacts or the provision of psych tech rounds in administrative segregation.

Institutional Summary:

The paper review materials provided by Folsom did not reflect much
progress. Folsom had a serious shortage of psychiatric coverage, which resulted in an
impossibly high caseload for the one full-time psychiatrist. Case management caseloads

also increased.

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Of the four areas of focus in the round, quality assurance appeared to be
fully compliant, except for a lack of staff participation in QITs. Mental health input into
the disciplinary process seemed to be reasonably well tracked, but few RVRs issued to
3CMS inmates generated assessments and, in the absence of actual RVRs and
assessments, it was impossible to evaluate the quality of the process or its impact on
outcomes.

Limited information on medication management was provided to the
monitor, perhaps because the facility in the past had been relatively compliant in most
aspects of the delivery and management of medications. HS medications were rarely
provided, and continuity of medication for inmates changing housing locations
deteriorated slightly.

Transfers to higher levels of care clearly worsened during the monitoring
period. The percentage of EOP inmates transferred within 60 days declined, as did the
percentage of inmates receiving timely initial screenings in administrative segregation.
MHCSB transfer logs did not contain referral dates, making it impossible to assess the
timeliness of transfers.

Overall, the materials submitted for the paper review contained inadequate
information on many aspects of the mental heath services provided by Folsom during the

monitoring period.

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Service Area B

Service Area B includes Pelican Bay State Prison (PBSP), High Desert

State Prison (HDSP) and the California Correctional Center (CCC).

Pelican Bay State Prison (PBSP)
November 13, 2005 — November 14, 2005

PBSP had vacancies for 2.5 psychiatrists, a senior psychologist, 4.5 case
managers, six psych techs, two recreational therapists and two office techs. In addition,
the institution had a psychiatrist on military leave and two psych techs on long-term
leave. Slightly more than half of the mental health staff openings were new positions
allocated to the institution because of population increases. Contract services covered a
portion of the vacancies, roughly equivalent to one psychiatrist, 1.75 case managers and
four psych techs.

The number of auxiliary staff vacancies increased among RN positions,
but remained relatively constant in other areas. Ten of 41 RN positions were vacant,
compared with six during the preceding monitoring period. Registry nurses covered
eight of the vacancies. Seven of 29 allocated MTA positions and one of three senior
MTA positions were still functionally vacant, but five of those positions were covered by
contractors. In addition, 1.5 of the 15.5 medical records positions were vacant. No
pharmacy positions were vacant.

Issues Resolved:

Custody checks were consistently performed as part of the follow-up
provided for inmates discharged from the MHCB unit.

The peer review process was functioning well.

HS medications were appropriately administered.

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Quality Management:

The quality assurance process at PBSP was functioning well. The quality
management committee continued to meet twice a week and maintain minutes throughout
the monitoring period. The mental health subcommittee met on a weekly basis, also
maintaining regular minutes.

The institution continued to operate six QITs. As indicated in the
preceding monitoring report, mental health staff appeared familiar with the QIT process
and received relevant feedback.

The institution still conducted chart reviews on a regular basis, routinely
sampling ten percent of the mental health caseload. Peer review for psychiatrists,
psychologists and psych social workers was handled well at PBSP.

The institution was having problems with the new Madrid management
information system introduced in July. Clinical staff had received training on the system
in May and June, and additional training was planned for November. According to the
institution, there were over 300 problems with the system. Moreover, it regularly took a
long time to enter data electronically in the system. Among other difficulties, the
reliability of the institution’s monthly overview report was questionable given the
problems with the information system. A QIT had been chartered and met weekly to
study the new information system; three subcommittees were formed in September to
assist with the study. Further monitoring was needed to determine whether expected

improvements will be accomplished over the next few months.

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Medication Management:

There were few problems regarding continuity of medication. PBSP had
adequate procedures in place for ensuring continuity on arrival. Inmates arriving at the
institution on medication were accompanied by MARs 90 percent of the time. Inmates
on medication rarely arrived without documentation. Procedures were also in place for
sustaining medication continuity for inmates changing housing locations. MTAs used the
daily movement sheets to monitor intra-facility relocations. Most medications were
clinic-stocked and, therefore, likely to be available in inmates’ new housing units.
Inmates’ MARs were generally available to the staff in the receiving unit through the new
information system. Finally, medications were renewed in a timely manner because
inmates were usually seen by psychiatrists prior to the expiration of their medication
orders.

Follow-up to medication non-compliance remained problematic. It was
difficult to determine whether inmates were consistently referred to mental health for
medication non-compliance due to problems with MARs data in the new management
information system. Moreover, no audit had been conducted to assess whether clinical
follow-up appointments were scheduled and conducted for non-compliant inmates.

Parole medications were reportedly provided to all caseload inmates
discharged from the institution. A procedure was in place to notify the pharmacy ten
days prior to an inmate’s release. It was not clear whether the institution maintained a
log identifying caseload inmates who were offered and received or rejected medications.

Nothing changed regarding medication errors. Medication error reports

were completed and compiled by the institution. While prescribing psychiatrists were

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reportedly informed of errors as they occurred, staff acknowledged that medication errors
probably were underreported. The institution still had not audited this issue.

DOT practices also remained the same. All inmates on psychotropic
medications still received DOT. Procedures for DOT were not documented, but staff
continued to report that DOT was periodically observed by nursing supervisors.

PBSP continued to track inmates on Keyhea orders. For the period from
January through September 2005, approximately 90 inmates a month received
involuntary medications through the Keyhea process. Keyhea renewal orders were
reportedly sought in a timely manner.

HS medications were administered appropriately. Institutional audits for
March 2005 found 99 inmates receiving HS medications, while audits for August and
October found 77 and 41 inmates on HS medications respectively. All HS medications
were administered after 8:00pm.

Laboratory testing for inmates on mood-stabilizing medications was
inconsistent. An institutional audit of 52 charts from September 2005 found that
laboratory tests were appropriately filed in 84 percent of the charts, while 95 percent of
those test results were returned in a timely manner. An earlier 55-chart institutional audit
similarly indicated that laboratory results were present in 89 percent of the charts.
According to the September audit, clinicians responded to abnormal test results by
adjusting medication appropriately in 66 percent of cases; this portion of the audit,
however, may have been unreliable as the sample size was small.

There were some new problems with MARs due to faults in the

management information system. MARs were not always filed in the charts, and no-

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shows and refusals were not always documented. Supervisory reviews of MARs were
rarely conducted.

Mental Health Assessments for the Disciplinary Process:

PBSP continued to track a wide range of information on caseload inmates
involved in the disciplinary process. From January 1 through September 30, 2005, 702
RVRs were issued to caseload inmates, approximately 25 percent of the total number of
infractions written up throughout the institution. Since mental health inmates constituted
only about 15 percent of the PBSP inmate population, it appeared that this group of
inmates received a disproportionate number of infractions. According to the institutional
log, 417 inmates were referred for mental health assessments in connection with their
disciplinary charges; this included all EOP and MHCB inmates, and a substantial 22
percent of 3CMS inmates.

Mental health staff did not consistently follow departmental protocols in
completing mental health assessments for inmates charged with disciplinary infractions.
An institutional audit of 35 assessments found that clinicians completed all of the
required assessment components in only 16 of the audited cases. In the remaining cases,
clinicians either did not interview the inmates or failed to review inmates’ UHRs and/or
C-files.

The institution audited 21 completed RVRs and found that clinicians
concluded mental illness had affected inmate behavior in 15 of the reports. The
institution further indicated that hearing officers regularly discussed mental health
assessments in reaching their conclusions. The monitor was unable to review inmates’

C-files during the monitoring visit to confirm the institution’s findings.

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PBSP was developing a pilot program for inmates who had engaged in
indecent exposure. A number of security measures designed to deal with this problem
had already been implemented, including the use of special jump suits. Training had
been provided to correctional staff on the management of these inmates. Staff reported
that the number of inmates engaging in exhibitionist behavior decreased by about 80
percent after the security measures went into effect. There was also a treatment group for
habitual exhibitionists operating in the administrative segregation unit.

Transfers:

PBSP made progress in providing access to the MHCB unit during the
monitoring period. Staff was better able to ensure immediate access to the MHCB unit
through timely discharges and transfers of medical patients to a local hospital; temporary
holding cells were not used to house inmates awaiting transfer to the MHCB unit. The
average length of stay in the MHCB unit decreased, ranging from 5.13 to 7.05 days, with
most admissions still coming from the PSU. The average length of stay during the
preceding monitoring period ranged from 5.15 to 9.47 days. PSU inmates often remained
in the MHCB unit after they were clinically discharged due to a chronic lack of beds in
the PSU program.

Access to APP/DMH at CMF was adequate. The number of referrals to
APP/DMH from January through September 2005 ranged from one to six per month. No
inmates referred to APP/DMH were rejected during the period. The average time from
referral to transfer ranged from three to 19 days. For the period from August | to
October 31, 2005, there were 44 referrals from PBSP to APP/DMH, of which 42 resulted

in transfers and two were cancelled; again, no referrals were rejected. The time from

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referral to transfer averaged 7.6 days, with a range of two to 19 days. Inmates were
consistently transferred within 72 hours of receiving a bed assignment. Referrals to
APP/DMH were, however, often delayed; it took two weeks or longer, after admission to
the MHCB unit, to initiate referrals in 15 of the 42 completed transfers.

Transfers to SVPP/DMH improved, but remained slow. From August 1
through October 31, there were 53 referrals for 47 inmates, of which 31 resulted in
transfers to SVPP; only one referral was rejected. The average time between referral and
transfer was 49 days, ranging from 12 to 144 days, with more than a quarter of the
inmates waiting over 60 days for transfer. At the time of the monitor’s visit, three
accepted inmates had been awaiting transfers for 229, 80 and 49 days respectively.
Another three inmates had been waiting 33, 26 and 18 days for a decision on their
referrals. Inmates sometimes decompensated while waiting for transfers to SVPP/DMH.
There were seven inmates referred to SVPP/DMH who were sent instead to APP/DMH,
presumably due to transfer delays and their deteriorating mental condition, the lapse
between the referrals of these inmates to SVPP/DMH and their transfers to APP/DMH
was 114, 40, 33, 29, 19 and 17 days respectively.

According to staff, psych and return protocols were followed without
problems throughout the monitoring period.

Other CAP Issues:

a. Partial Compliance
The monitor did not have an opportunity to assess the timeliness of

psychiatric responses to referrals, an issue that had shown improvement during the

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preceding monitoring round. The institution did not keep track of the average response
time for urgent and non-urgent referrals.

There were five therapy groups for 3CMS inmates operating at the time of
the monitor’s visit, one on A Yard, one on B Yard and three in administrative
segregation. A needs assessment study performed during the monitoring period
concluded that there was a need for further 3CMS groups. Staffing vacancies, however,
prevented implementation of this recommendation. The frequency of case management
contacts for 3CMS inmates was erratic. From January through September 2005, there
were 288 to 306 general population 3CMS inmates in PBSP. Of these anywhere from
three to 146 3CMS inmates monthly were not seen as frequently as required in their
treatment plans.

The amount of structured therapeutic activities offered to EOP and PSU
inmates declined. EOP inmates in general population were offered between 4.71 and
10.13 hours of therapy a week, compared with an average of 11.70 hours during the
preceding monitoring period. PSU inmates were offered between 7.36 and 13.15 hours
of out-of-cell therapeutic activities, compared with 11.53 to 13.18 hours during the first
six months of 2004. PSU inmates were offered more than ten hours of structured therapy
during just two months in 2005. Data for the latter part of October and the early part of
November showed some improvement in the amount of therapy offered to both EOP and
PSU inmates. Treatment services for EOP and PSU inmates were often provided in a
non-confidential setting.

There continued to be problems in administrative segregation with the

provision of mental health services, including the frequency of case management

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contacts. The number of 3CMS inmates in the administrative segregation unit from
January through September 2005 ranged from 59 to 68. During this same period,
between zero and 23 3CMS inmates a month did not receive weekly case management
contacts. Caseload inmates were often seen in a non-confidential setting due to the lack
of available office space. Mental health screenings were not consistently completed for
non-caseload inmates placed in administrative segregation. Completed screenings were
often delayed more than 72 hours after admissions to the unit.

In June 2005, agreement was reached in Madrid on a program in
administrative segregation to provide group therapy particularly to 3CMS inmates who
were downgraded from participation in the PSU program for clinical reasons and were
awaiting transfer to the CSP/Corcoran SHU. Needed physical renovations were
identified, as were some slight additional staff allocations needed to implement the
program, and appropriate requests were forwarded to DCHCS. Reportedly, no decision
had been made at the headquarters level, and the program had not been implemented at
the time of the monitor’s mid-November visit.

UHRs were more legible and contained more comprehensive clinical data.

b. Non-Compliance

Inmates on heat-sensitive medication did not receive heat cards. While
this did not impact significantly on inmates in PBSP, it might present a problem for
inmates transferred from PBSP to other institutions, such as CSP/Corcoran.

Institutional Summary:

PBSP continued to progress during the monitoring period. A number of

CAP items were resolved, and forward movement was maintained in several of the four

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areas of focus in the monitoring round. In particular, the quality assurance process was
operating well, and access to higher levels of care improved. The disciplinary process
was reportedly improved for caseload inmates, although mental health assessments were
not always completed properly. According to the institution, hearing officers took mental
health input into account in reaching their determinations. A pilot program for dealing
with exhibitionism was also implemented.

Medication management was more erratic. Continuity of medication was
good; parole medications were provided; problems with HS medication were largely
resolved; the Keyhea process functioned properly; and DOT was reportedly performed
routinely. On the other hand, follow-up to medication non-compliance was poor;
laboratory testing was inconsistent, MARs were problematic; and measures for dealing
with medication errors had not been audited.

Staffing shortages and inaccuracies in the recently implemented electronic
information system made it difficult for the institution to maintain its previous level of
compliance in some areas. Specifically, the amount of therapeutic activities afforded to
EOP and PSU inmates declined; the provision of group therapy and case management
contacts for 3CMS inmates slipped; and implementation of the mental health program in
administrative segregation was incomplete. An audit was needed with respect to the
timeliness of psychiatric responses to referrals.

Overall, PBSP continued to make progress toward compliance warranting
a reduced level of review during the next monitoring period. Ongoing problems with the
facility’s new electronic management information system, however, precluded for the

moment the reduction of monitoring to a paper review in the next round.

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High Desert State Prison (HDSP)
October 12, 2005 — October 14, 2005
Psychiatric staffing, which reached crisis proportions during the preceding
monitoring period, remained in dire straits. The chief psychiatrist position was converted
to a position for a senior psychiatrist, but the psychiatrist recruited to fill the position left
after eight days. The position was vacant again at the time of the monitor’s visit,
although a candidate had been identified and was expected to assume the position in
December 2005. All five of the institution’s allocated staff psychiatrist positions were
vacant throughout the monitoring period. No psychiatrist was on site at HDSP during 86
days in 2005. Between five and 12 contract psychiatrists a month covered up to half, but
often as little as a quarter, of the open psychiatrist positions. There was little supervision
provided for these contract psychiatrists, and turnover among them was high. Under
these circumstances, continuity of care was a significant problem; inmates rarely saw the
same psychiatrist twice. HDSP also used between 30 and 70 hours of telemedicine a
month, which covered less than one-half of one vacancy. Contract and telemedicine
services together covered, at most, 44 percent of vacant psychiatrist positions.

In addition, positions for three psychologists, two psych techs and an
office tech were vacant. Another psych tech was expected to leave shortly, and another
office tech was on long-term leave. HDSP employed a consistent group of contract
clinicians to cover the equivalent of one psychologist position. Despite the staffing
shortage, case manager caseloads were under a 100 inmates on most housing yards and in

the mid-30s in administrative segregation.

Auxiliary staffing suffered from a 40-percent vacancy rate among MTAs.

Contracted MTAs covered about a quarter of these vacancies. While most RN vacancies

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were covered by contractors, pharmacy vacancies were only partially covered. On the
medical side, nearly a third of all allocated physician positions were vacant, as was the
chief physician’s position. Reportedly, some 160 correctional officer positions were also
vacant, resulting in lengthy lockdowns and delaying access to therapeutic activities for

mental health inmates.

HDSP remained closed to transfers of MHSDS inmates from other
institutions during most of the monitoring period, with the result that the 3CMS caseload
declined by more than 30 percent from 784 inmates in September 2004 to 532 inmates in
October 2005. On the other hand, the number of high risk EOP, administrative
segregation and reception center inmates increased. The caseload population in
administrative segregation, for example, grew from 55 to 70 inmates during the

monitoring period.

Issues Resolved:

Access to confidential treatment space was adequate.
Problems with clinical access to MHCB inmates were resolved.

Quality Management:

The quality management committee and mental health subcommittee both
had good interdisciplinary representation, although psychiatric attendance remained
problematic. The quality management committee met monthly, but did not generally
focus on mental health issues. The mental health subcommittee met biweekly and
functioned reasonably well. The suicide prevention committee met monthly, although
custody and psych tech participation was limited. The committee apparently did not

discuss the two suicides completed during the monitoring period adequately, nor did the

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committee discuss thoroughly appropriate responses to serious suicide attempts.
According to the warden, reports of correctional officers baiting caseload inmates in
administrative segregation to hang themselves were being investigated.

The QIT process was limited. Only three teams were active during the
monitoring period. Two of them were involved primarily in designing forms, while the
third had gathered a large amount of data but not yet analyzed the information or
identified corrective strategies.

HDSP conducted an extraordinary number of monthly and quarterly
audits, reviewing a significant number of inmate charts. The methodology of these
studies was usually strong, except for some medication-related audits. Audit results were
reported at mental health subcommittee meetings, but remedies for poor performance
were generally limited to training and supervision.

Psychologist peer review began to occur during the six months prior to the
monitor’s visit. Peer review for psych social workers occurred throughout the preceding
year. Given the staffing situation, i.e., the absence of a single permanent psychiatrist in
the institution, there was no peer review for psychiatrists.

Once again, no progress had been made in implementing the MHTS. The
data in the system, particularly with respect to medication information, was frequently
inaccurate. There were also problems with the system’s interface with the pharmacy’s
software. Tracking was still primarily accomplished through manual logs.

Medication Management:

HDSP still lacked an adequate local operating policy on medication

management. Staff losses interrupted efforts to revise the policy for much of the

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monitoring period, but the institution recently began the revision process anew. The draft
policy under consideration was not entirely consistent with departmental requirements; it
included no provisions for HS medications or laboratory testing.

Continuity of medication for arriving inmates worsened. Institutional
audits, while methodologically flawed, indicated that less than half of inmates arriving in
reception with verified medications received their prescriptions in a timely manner. The
institution found examples of medications that were ordered, but never received; in other
instances, medications were delayed anywhere from a day to weeks. The pharmacy
appeared to cancel some orders, while psychiatrists reportedly discontinued some
medications for arriving inmates because the ordered medications were non-formulary.

Procedures for handling inmates arriving with unverified medication
claims were in place, but implementation was erratic and no audit of the issue had been
conducted by the institution. The monitor’s expert reviewed the charts of seven such
inmates and found that, while all of the inmates were appropriately referred to mental
health, two inmates were not seen by a psychiatrist and several others received
inappropriate orders continuing their medications without being seen by a clinician. The
average time from referral to psychiatric evaluation for the inmates who were seen was
20.3 days, with a range of nine to 30 days.

Medication continuity for inmates changing housing locations continued
to improve. Methodologically sound institutional audits indicated that 85 percent of
medications were delivered without interruptions after intra-institutional transfers.
Institutional audits did not, however, capture data on the length of interruptions or the

housing units where interruptions occurred.

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Medication continuity on the renewal of medication orders also improved,
but a number of prescriptions still were allowed to expire. Institutional audits showed
that renewals were timely 80 to 90 percent of the time. Interviewed inmates reported
medication expirations lasting days or weeks. Interviews with staff and chart reviews
revealed instances of serial medication renewals without clinical contact.

The provision of parole medications deteriorated. Institutional audits for
the period from December 2004 to June 2005 indicated that only one to two-thirds of
paroling inmates received their medications upon discharge. The institution developed a
new corrective action plan to remedy the problem, but it was too early to assess the
effectiveness of the adopted measures.

Follow-up to medication non-compliance remained problematic. Data
from the MHTS indicated that some appropriate referrals were made, but the extent to
which non-compliant inmates were consistently referred to mental health was unclear.
Staff reported that non-compliance was not consistently recorded in inmates’ MARs.
Institutional audits on the timeliness of psychiatric follow-up were methodologically
poor, but seemed to show that the percentage of non-compliant inmates referred to mental
health was low, between 20 and 67 percent. According to the same audits, refusal forms
were completed in only 22 percent of reviewed cases.

HDSP had an adequate procedure in place for reporting and reviewing
medication errors. According to an institutional medication error summary, 72 errors
were reported for the period from May through September 2005. All errors were

appropriately reviewed.

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The institution finally began providing DOT, but some problems persisted.
Reportedly, just 11 inmates were on DOT during the monitoring period, compared with
one during the preceding monitoring period. IDTT meetings appeared to identify some
inmates suspected of hoarding or cheeking their medications, but the institution did not
seem to know how many inmates had such a history. Moreover, staff complained that
psychiatrists did not regularly adopt IDTTs’ recommendations for DOT and did not
document their rationale for not doing so. The monitor’s expert reviewed HDSP’s
orientation package for new psychiatrists and found no information on DOT in them.
The monitor’s expert concluded that a QIT was needed to study the issue.

HS medications were still not prescribed at HDSP.

It was difficult to determine the frequency of blanks on inmates’
MARS from institutional audits, but studies showed that MARs were generally legible.
HDSP audits found that MARs were filed in 93 to 95 percent of surveyed inmates’
UHRs. Chart reviews by the monitor’s expert suggested a possible problem with misfiled
MARs.

Little had changed with regard to the filing of informed medication
consent forms. Four audits conduced during the preceding 12 months demonstrated a
rate of compliance ranging from 51.5 to 66.9 percent. The audits noted similar problems
with the filing of psychiatric progress notes.

The monitor did not have an opportunity to assess the Keyhea process.

Only one inmate had a Keyhea order at the time of the monitor’s visit.

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Mental Health Assessments for the Disciplinary Process:

HDSP had a system for tracking requests for mental health assessments,
which was found to work reasonably well during the preceding monitoring round. The
institution provided the monitor with the total number of RVRs issued to caseload
inmates, but did not provide a list of the inmates involved. The mental health assessment
log submitted to the monitor had some inaccuracies.

During the preceding monitoring period, HDSP referred all caseload
inmates charged with serious disciplinary infractions for mental health assessments,
contrary to departmental policy. In February 2005, the institution adopted appropriate
RVR protocols and started referring only those 3CMS inmates thought to exhibit bizarre
or uncharacteristic behavior, along with all EOP and MHCB inmates. As a result of these
changes, the number of inmates referred to mental health for assessments dropped from
an average of 34 referrals a month during October 1, 2004 through January 31, 2005 to an
average of seven referrals a month from February 1 through June 30, 2005, with only two
referrals in July 2005. The actual number of inmates who received assessments was low
because many of the inmates referred were later found by mental health not to meet the
referral criteria. Of the 287 3CMS inmates issued RVRs since February 2004,
approximately 250 were determined not to need a mental health assessment. The
monitor’s expert reviewed a limited number of these cases and found two inmates that
should have received mental health assessments.

Most of the mental health assessment protocols were generally followed at
HDSP. Mental health assessments were completed by a senior psychologist or a roving

clinician who had no case management responsibilities for the accused inmate. Inmates

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reportedly were always interviewed for the assessments, although institutional audits
indicated that interviews were not usually conducted in a confidential setting. An
institutional review of 11 of 16 mental health assessments completed during the second
quarter of 2005 found that the assessments used lay terms and consistently included a
supporting narrative. On the other hand, UHRs were reviewed only for inmates whose
interviews suggested that clinical issues may have affected their behavior, and C-files
were seldom reviewed. Several other deficiencies were also noted, including failures by
clinicians to return their assessments to custody staff within five days and signature
omissions by custody staff; in one troubling instance the assessment neglected to
recommend a staff assistant for an EOP inmate; in another instance, a clinician acting as a
staff assistant for an inmate offered adverse testimony.

According to information contained in the institutional logs, clinicians
concluded that mental illness affected inmates’ behavior in about one-third of the mental
health assessments. There was some evidence that hearing officers took mental health
input into account in most, but not all, cases. Institutional audits showed that 80 percent
of hearing officers documented consideration of mental health input in reaching their
dispositions. The monitor’s limited review of C-files found three cases where charges
were either dismissed or reduced based on mental health input, one case where the
penalty was lowered and another case where the hearing officer concluded, contrary to
the clinician’s input, that mental illness played no part in the inmate’s conduct.

In 2005, RVRs involving 37 caseload inmates were referred to the district
attorney’s office for criminal prosecution. Just three of the referrals were accepted for

prosecution. It was unclear whether HDSP prepared the referral packets in a timely

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manner, because many documents were missing from the packets months after the
incidents occurred. It took the district attorney’s office between two weeks and four and
a half months to reach decisions in referred cases.

A large proportion of the RVRs referred to the DA for prosecution
involved sexual misconduct. According to the incident log, 18 such incidents occurred
during the monitoring period, 13 of which were referred to the DA. The institution
reported that sexual misconduct screenings were taking place, but no supporting
documentation was provided. The monitor reviewed a sample of the files maintained by
the litigation coordinator and found that, although many of the incidents occurred after
the new sexual misconduct protocols were expected to be in place, the files did not
contain the required mental health screenings.

Transfers:

While MHTS data on the transfer of 3CMS inmates out of reception was
unreliable, it seemed to indicate that the number of transfers increased during the
monitoring period, although the length of reported delays remained about the same. At
the time of the monitor’s visit, 101 3CMS inmates were awaiting transfer. Only three
had been waiting longer than 90 days; the longest stay was about five months. Transfer
delays for some caseload inmates in reception were, in part, the result of staffing
shortages among physicians and other problems with medical processing.

The timeliness of EOP transfers declined slightly, but the majority of EOP
inmates were still transferred, paroled or sent to a different level of care within required
timeframes. During the monitoring period 58 EOP inmates were housed in HDSP. Of

these, 27 were paroled or transferred to an EOP program within 60 days or shortly

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thereafter; five were transferred to a higher level of care within 60 days; three were sent
to another reception center; and one was downgraded to a 3CMS level of care. On the
other hand, 11 EOP inmates remained in the facility a month or more beyond 60 days.
The longest stay was eight months. Another 11 inmates were awaiting transfer at the
time of the monitor’s visit, but only one had exceeded the timelines. Approximately one-
quarter of EOP inmates in administrative segregation remained longer than the
department’s 30-day guideline, but only one inmate remained beyond 60 days.

Treatment of EOP inmates awaiting transfer deteriorated somewhat.
Institutional audits showed that 79 percent of EOP inmates received weekly clinical
contacts. Data from the unreliable MHTS reflected an even worse rate of compliance in
this area. Of the 11 EOP inmates in HDSP at the time of the monitor’s visit, only four
received consistent weekly contacts; several inmate histories reflected multiple or
prolonged gaps, while other histories were unclear.

Inmates continued to have reasonable access to HDSP’s MHCB unit. The
MHCB unit was closed to outside admissions, except for those from CCC, throughout
2005, and the unit’s census was relatively low. Although the average length of stays in
the MHCB unit was only four days, of the 294 admissions to the unit since April 2005,
17 percent remained longer than ten days. Most of these inmates were either housed in
the MHCB unit for only a day or two beyond the ten-day guideline or were awaiting a
DMH bed. Excluding these inmates, just eight percent of inmates admitted to the MHCB
unit remained longer than ten days for clinical reasons. Multiple admissions to the

MHCB unit were not a problem; in the six months preceding the monitor’s visit, only six

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The MHCB unit had video cameras in its three safety cells and five
regular cells. Video monitoring was employed 21 times in the preceding year. A
correctional officer was able to monitor up to six inmates at a time. The institution’s
camera system was new and had a wide field of vision and fine resolution. Most of the
time, the video monitoring equipment was used for inmates placed in restraints for
medical reasons, but the rules for suicide watch, which required correctional officers to
maintain hourly cell-front contacts with the observed inmates, were applied to everyone
placed in restraints and monitored by video. The monitor’s expert reviewed a sample of
four incidents involving physical restraints and found that the use of restraints was
reasonable.

HDSP continued to transfer inmates to APP/DMH at CMF, but at about
half the rate of transfers in the preceding monitoring round. There were 33 referrals to
DMH/CME during the preceding 13 months, two of which were rescinded because the
inmates stabilized quickly. Only one referral was rejected. Transfers were generally
timely, with 85 percent of inmates moving within 12 days; the longest time to transfer
was 35 days. There were, however, some delays at all stages of the transfer process.
Approximately 25 percent of inmates were not referred to DMH until they had been in
the MHCB unit from 11 to 18 days. The time spent waiting for bed assignments was
generally less than ten days, with the longest wait being 17 days. The inmate referred to
above, who spent eight days in restraints, was waiting for an APP/DMH bed. More than
25 percent of transfers to APP/DMH experienced transportation delays of a day or two,

although a few transfers were delayed as many as nine or ten days. According to an

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institutional log, DMH/CMF would not accept parole violators until they had received a
revocation hearing, causing some inmates to wait much longer.

Psych and return policies seemed to have been followed. Only two charts
were available for the monitor’s review, but both contained faxed discharge summaries.
The monitor did not determine whether clinicians at HDSP received telephone calls from
DMH on the return of these inmates.

One PSU inmate was housed in HDSP during the monitoring period. At
the time of the monitor’s visit, he had already been waiting for more than four months,
after endorsement, for a transfer to a PSU. HDSP did not appear to refer inmates to
intermediate care DMH programs or facilities, and no referrals were made to either ASH
or SVPP during the monitoring period.

Other CAP Issues:

a. Partial Compliance

The timeliness of initial mental health assessments declined during the
monitoring round. The institution continued to struggle to complete MH-4s within five
working days of arrival, particularly for inmates arriving on Thursdays and Fridays. On
the other hand, completion of initial treatment plans remained timely.

The composition of IDTT meetings suffered from the lack of psychiatric
participation. Participation by psychiatrists fell to less than three percent, down from 22
percent in the preceding monitoring period. Attendance by case managers and
correctional counselors was excellent.

Clinical follow-up for suicidal inmates discharged from the MHCB unit

remained generally adequate, although institutional logs indicated that 12 percent of

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inmates missed at least one day of scheduled clinical follow-up. Documentation of
custody checks was erratic. The monitor reviewed the UHRs of seven inmates who
together had been discharged from the CTC 13 times with orders for five-day follow-up
during the preceding six months. Five-day clinical follow-up was documented for 12 of
the 13 discharges, but custody checks were documented in only six cases. It was unclear
whether the problem was with documentation and/or filing or with the actual provision of
custody checks.

Institutional audits of mental health services provided to inmates in
administrative segregation indicated that in the first three quarters of 2005, psych tech
rounds were documented 20, 70 and 90 percent of the time, respectively. Given the
shortage of psych techs on staff, it was unclear to what extent these figures reflected poor
compliance with the requirement for daily rounding or documentation problems. Audits
further indicated 70 to 100 percent compliance with the requirement for weekly case
management contacts, but many contacts were conducted at cell-front. Clinicians
completed timely mental health screenings for many, but not all, non-caseload inmates
arriving in administrative segregation. An institutional audit of arriving inmates found
that 77 percent received timely screenings, while the monitor’s document review found a
72-percent rate of compliance. Caseload inmates did not receive mental health
screenings upon admission to the unit. Initial IDTT meetings reportedly were often
delayed and most were not held prior to initial ICC hearings. Contrary to the reported
delays, the quarterly institutional audits found 100-percent compliance with the provision

of IDTT reviews and updated treatment plans during the preceding six months, but the

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size of the audit samples was unknown or extremely small. Some limited group therapy
was offered in the administrative segregation unit.

The provision of pre-release services improved. It appeared that inmates
were almost always seen at least once by a TCMP clinician before being discharged from
the institution. HDSP also developed an effective process for informing case managers
and psychiatrists when inmates were scheduled to be paroled.

According to institutional heat logs, 36 Stage I heat alerts occurred from
July 1 to August 31, 2005. Despite the hot weather, no Stage II heat alerts occurred
because all housing units were air-conditioned. Eighty percent of the inmates
interviewed by the monitor’s expert had heat cards. Heat return protocols were rarely
invoked due to prolonged lockdowns throughout the prison, which prevented most
inmates from going to the yard during the summer months.

b. Non-Compliance

Group therapy remained inadequate for 3CMS inmates. Institutional lists
showed that 53 3CMS inmates, many in administrative segregation, participated in group
therapy during the monitoring period. Most groups, however, were discontinued due to
case manager turnover. As of mid-October, only one group with seven inmates was
operating in the facility. The institution was unable to provide the monitor with a waiting
list. Lockdowns also remained an obstacle to the provision of group therapy.

The institution continued to have problems providing quarterly case
management contacts for all 3CMS inmates. Institutional audits showed between 67 and
80 percent of inmates received quarterly contacts, depending upon the housing yard.

Most of the missed quarterly contacts were delayed by one or several months. The

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monitor’s review of inmate histories from the MHTS indicated that inmates received
more frequent case manager and psychiatric contacts than were reflected in the
institutional audits.

Psychiatric responses to inmate and staff referrals, while slightly
improved, remained poor. The monitor reviewed inmate histories from the MHTS and
found that 70 percent of referrals received a response within two weeks, while the
remaining referrals took up to six weeks to be seen or were never seen at all. Institutional
data showed that the average response time to routine referrals ranged from six to 15
days, far longer than the institution’s goal of five working days. The institution provided
no data with respect to urgent or emergent referrals. Moreover, the institution measured
response times from the date a referral was received by mental health, rather than the date
the referral was initiated. The rescheduling of clinical appointments was a common
related problem. The monitor’s review of inmate histories revealed that only about half
of cancelled appointments were rescheduled within two weeks, while the other half took
months to reschedule or were dropped. Of 153 cancellations in the monitor’s audit, 46
were rescheduled within two weeks, 86 took ten weeks and 21 were never rescheduled.
As a result, some inmates, whose medications expired in the interim, were not seen for as
long as four months. Case manager response times were similarly non-compliant. HDSP
began using clinical staff to triage referrals but had developed no other corrective
response to the problem.

Bus screening referrals, an issue earlier resolved, resurfaced during 2005.
Institutional audits showed that only 70 to 80 percent of appropriate cases were referred

to mental health.

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Institutional Summary:

HDSP’s serious mental health staffing shortages, particularly among
psychiatrists and psych techs, were not adequately covered by contractors. Vacancies
among auxiliary staff, physicians and correctional officers compounded difficulties with
the delivery of most mental health services. Despite staffing problems and extended
lockdowns, the institution struggled to maintain reasonable access to clinical services for
inmates.

Of the four issues of focus in this monitoring round, quality management
made some erratic progress. Audit methodology improved in some areas, and peer
review was implemented for psychologists, although psychiatric peer review ceased in
the absence of any permanent psychiatrists in the institution. The MHTS continued to
founder, and the number of functioning QITs contracted to just three. Meetings of the
suicide prevention committee did not regularly include substantive discussion of
completed suicides or serious suicide attempts.

HDSP continued to transfer EOP inmates to appropriate programs in a
generally timely manner, although the number of EOP inmates who remained at HDSP
beyond time limits increased, while treatment for EOP inmates awaiting transfer shrank.
Inmates had good access to the MHCB unit. Lengths of stay in the MHCB unit were
reasonable, and treatment was adequate, although out-of-cell activities were severely
limited and psychiatric rounds in the unit were problematic. Fewer acute care referrals
and transfers to DMH occurred during the monitoring round, and the institution made no

attempt to access DMH intermediate care programs.

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